Case 6:14-cr-06038-EAW-JWF Document 396-3 Filed 01/22/19 Page 1 of 5




                     Exhibit C
     Case 6:14-cr-06038-EAW-JWF Document 396-3 Filed 01/22/19 Page 2 of 5




Oslo municipality: Here is Stein Erik Hagen's luminescent three
harbors
Six places in Oslo are pointed out as relevant for Stein Erik Hagen's luminescent wood. Instead
of giving away the tree as a pure gift, Hagen now proposes lending for a limited period.

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- We have recorded that the municipality can borrow the tree, for example for three to five years.
Then they can say "pack it together, we don't want it anymore". Or they may want to extend the
period. Or they can say that they will receive the gift on a permanent basis, says Stein Erik
Hagen.

It was autumn 2017 Hagen bought a luminescent and programmable, artificial tree at the Burning
Man festival in the USA.

Burning Man is a week-long festival that takes place every year in the Black Rock Desert in
Nevada. The name comes from the ritual burning of a tall man's sculpture in wood at the end of
the festival.

In the winter, the investor, Orkla owner and art collector Hagen said that he wanted to give the
tree as a gift to Oslo, and that he hoped for a location where most people could enjoy it.

Regardless of how the agreement for a time-limited gift or a loan ultimately becomes, Hagen
promises to take all costs, including installation, electricity and insurance. This is stated in a
letter to the municipality of Oslo this spring.

Earlier, City Councilor Raymond Johansen (Ap) in Oslo has said he is happy that Stein Erik
Hagen will give the city a tree.

- I think this looks very exciting. I think the tree can become an attraction for the whole city,
Johansen said after a meeting with Hagen about the tree in February.

Builds "miniature" in China

Right now, the artist Alexander Green and his company Symmetry Labs are holding an eight-
meter-high miniature edition in China.

This tree will be tested out north in the state of New York to make sure that the technical
solutions can withstand the weather and weather.

Here the tree should stand

The cultural agency in the Oslo municipality listed the most relevant proposals for the location of
"The Tree of Ténéré" before the summer.



                                                      1
     Case 6:14-cr-06038-EAW-JWF Document 396-3 Filed 01/22/19 Page 3 of 5




The list is the result of "an early exploration of opportunities" and mentions qualities of the
different locations.



                                  Here the tree should stand

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                                  listed the most relevant proposals for the location
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In parallel, the municipality of Oslo and Hagen, assisted by real estate developer Erik Bøhler,
have started the process of finding a suitable place for deployment of the full-size tree.

It gets around 14 meters high, with luminescent leaves with changing colors and patterns that can
be programmed in different ways.

But first of all, Stein Erik Hagen will return to Nevada, along with his friend Thor Halvorssen
and his son Carl Erik Hagen. The flight to Los Angeles went Friday morning and the festival
lasts until September 3 in Black Rock Desert in Nevada.

- There will be a meeting with the municipality when I return from Burning Man. Then we will
discuss location, says Hagen.

Suggest six different locations

The municipality has already made a list of six different, possible locations. Among the
proposals are the Kontraskjæret, Vippetangen, Langkaia in front of the Opera, and the
Sofienbergparken, which Hagen himself has previously expressed enthusiasm for.

- We probably find a solution. It is about finding a location that fits in every way. We get to
travel and look at it and then we find a solution. Many of these publishers are good, he says.

Karianne Bjellås Gilje, Dean of the Department of Design at the Art Academy in Oslo, has
previously recommended that the inhabitants must be involved and get involved in deciding
where the tree should stand.

- It requires a bit of humility from the donor, so that the recipient gets to think a little about how
this can be good for the citizens and in urban development. If the dealer wants a monument of
his own ego, and suggests where it should stand, a little professional resistance is needed, Gilje
said earlier this year.



                                                      2
     Case 6:14-cr-06038-EAW-JWF Document 396-3 Filed 01/22/19 Page 4 of 5




Challenges in outdoor spaces

The board of the Art Scheme in the City of Oslo deals with all matters concerning gifts in the
form of works of art or monuments that are to be given to the City of Oslo, and recommends
decisions by the City Council.

- I think this tree is very cool. So we have rules for how such things are handled, and that means
that we are in a process to find out where it can stand and the management of it further, she says.

Sculptor conservator Ingrid Skard Skomedal from Oslo's art collection is working on deploying,
conserving, repairing and cleaning sculptures in the collection, which counts approximately 600
works.

She has been tasked with finding a suitable location for Hagen's tree.

- The sculpture is a loan and will not be included in the collection, but will be placed in
collaboration with the art collection of the Oslo municipality for a period of up to five years.
We're all in the starting line so I can't give any details. But the tree is an exciting art installation,
which it is fun to work with, says Skomedal.

- What challenges are there with such sculptures?

- There are always challenges in placing art in outdoor spaces. The location must work visually
and practically. It may have to do with the material. Electronics and plastic in winter and weather
- it can be demanding.

- Do you even have a favorite location among the six options on the list?

- There are a few places that point out, but I don't want to say anything about it now. It is about
light conditions. It should not be annoying, but something fun, engaging, an experience, says
Skomedal.

Must withstand Norwegian weather conditions

The work to create weather-proof solutions and test them out in the US means that it takes longer
than ever thought to have the tree finished.

Thus it will not be appropriate to "plant" it in Oslo before sometime next year.

- It is better to do it properly and that it will be a good product that can withstand Norwegian
weather conditions, says Stein Erik Hagen, who has not commented on what the tree is going to
cost other than that there is talk of "several million".

Than has told him that he was quick at the lab when he saw the tree at Burning Man a year ago.




                                                    3
    Case 6:14-cr-06038-EAW-JWF Document 396-3 Filed 01/22/19 Page 5 of 5



- I was out in the count's time, because there were many who wanted to buy it, Hagen has said.




                                               4
